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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
                                                 No. 19-CR-561 (LAP)
-against-
                                                 No. 11-CV-691 (LAK)
STEVEN DONZIGER,
                                                         ORDER
                       Defendant.

LORETTA A. PRESKA, Senior United States District Judge:

     The Court is in receipt of Defendant Steven Donziger’s

letter regarding various access measures for his trial beginning

on May 10, 2021.      (See dkt. no. 251.)      In response to Mr.

Donziger’s requests:

         The Court has requested access to a larger courtroom
          for Mr. Donziger’s trial. The availability of such
          a courtroom will depend on what other proceedings,
          in particular, jury trials, are scheduled. Once a
          courtroom is designated, the Court will enter an
          order with the relevant information.

         The Court will provide one or more overflow rooms
          from which to observe the proceedings. Once an
          overflow room is designated, the Court will enter an
          order with the relevant information.

         In addition to space in the overflow room(s),
          members of the press may also sit in a distanced
          manner in the jury box to ensure that more seats are
          available to the public. Some seating in the main
          and overflow courtrooms will be reserved for members
          of the press.

Consistent with the Federal Rules of Criminal Procedure, the

Court will not provide remote audio-visual access to the




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proceedings.1     Subject to the COVID-19 protocols in place at the

time of Mr. Donziger’s trial,2 any interested member of the

public may attend the trial in person.

SO ORDERED.

Dated:       April 6, 2021
             New York, New York


                               __________________________________
                               LORETTA A. PRESKA
                               Senior United States District Judge




     1 See FED. R. CRIM. P. 53 (“Except as otherwise provided by a
statute or these rules, the court must not permit the taking of
photographs in the courtroom during judicial proceedings or the
broadcasting of judicial proceedings from the courtroom.”). The
Court observes that the CARES Act authorizes the use of remote
video teleconferencing for some criminal proceedings. See
Coronavirus Aid, Relief, and Economic Security Act, Pub. L. No.
116-136, § 15002(b), 134 Stat 281, 528 (2020). Notably absent
from the list of proceedings for which using such technology is
authorized, however, are trial proceedings.
     2 The Court’s most up-to-date protocols are available online
at https://nysd.uscourts.gov/covid-19-coronavirus.
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